Case 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 1 of 53 Page ID #:11




                    EXHIBIT B                     2
  The information in this disclosure may not be entirely accessible to screen readers. If you have any questions please contact your Wells Fargo banker or call our National Business Banking Center at 1-800-225-5935. Representatives are available to assist you 24 hours a day, 7 days a week.

e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 2 of 53 Page ID




                                                                     Business Account Agreement

                                    Important legal
                               information, disclosures,
                                and terms you need to
                                        know
                                                                                                                 Effective April 24, 2017
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 3 of 53 Page ID
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 4 of 53 Page ID
     Table of contents
    Introduction                                                         1
      Words with specific meanings                                       1




                                                                                    Introduction
    Resolving disputes through arbitration                               3
    Important legal information                                          6
    Statements and other information relating to your deposit account    7
    Rights and responsibilities                                         12
    Checking and savings accounts




                                                                                 through arbitration
                                                                                 Resolving disputes
      Deposits to your account                                          16
      Funds availability policy                                         18
      Available balance, posting order, and overdrafts                  20
      Setoff and security interest                                      24
      Bank fees and expenses; Earnings allowance                        25
      Additional rules for checks and withdrawals                       26
      Issuing stop payment orders and post-dated checks                 27




                                                                                 Important legal
                                                                                   information
      Interest earning accounts                                         29
      Time Accounts (CDs)                                               31
    Electronic banking services
      Debit cards and ATM cards                                         32
      Phone Bank Services                                               41
      Termination of electronic banking privileges                      42




                                                                                 error notifications
                                                                                  Statements and
      Funds transfer services                                           43




                                                                                 responsibilities
                                                                                   Rights and
                                                                                 savings accounts
                                                                                   Checking and
                                                                                 banking services
                                                                                    Electronic




                                                                             i
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 5 of 53 Page ID




   ii Business Account Agreement – Effective April 24, 2017
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 6 of 53 Page ID
     Introduction
    Welcome to Wells Fargo




                                                                                                              Introduction
    You have many choices when selecting a financial institution, and we are glad you chose
    Wells Fargo Bank, N A We value our relationship with you and hope we answered all your
    questions when you opened your account Please review this booklet for further details
    regarding your account and related services

    What words do we use to refer to the customer, this booklet, and Wells Fargo?




                                                                                                           through arbitration
    •   The customer is the “account owner,” “you,” “your,” “yours” and “authorized signer.”




                                                                                                           Resolving disputes
    •   Wells Fargo Bank, N.A. is “Wells Fargo,” “we,” “us,” or “our.”
    •   This booklet and the disclosures listed below constitute the “Agreement”:
        - The Business Account Fee and Information Schedule (“Schedule”), which explains our
          fees and provides additional information about our accounts and services,
        - Our Privacy Policy,
        - Our rate sheet for interest-earning accounts, and




                                                                                                           Important legal
        - Any additional disclosures we provide to you about your account and related services




                                                                                                             information
    Words with specific meanings
    Certain words have specific meanings and are italicized throughout this booklet These
    words and their meanings are in this section
    Authorized signer
    A person who has your actual or apparent authority to use your account even if they have




                                                                                                           error notifications
    not signed the signature card or other documents




                                                                                                            Statements and
    Available balance
    Your account’s available balance is our most current record of the amount of money available
    for your use or withdrawal. For more information, please see the section entitled “How do we
    determine your account’s available balance?” in the Agreement.
    Business day
    Every day is a business day except Saturday, Sunday, and federal holidays
    Business deposit account                                                                               responsibilities
    A business deposit account is any deposit account, other than one of Wells Fargo’s commercial            Rights and
    deposit accounts, which is not held or maintained primarily for personal, family, or
    household purposes Examples of business deposit accounts include an account owned
    by an individual acting as a sole proprietor, a partnership, a limited partnership, a limited
    liability partnership, a limited liability company, a corporation, a joint venture, a non-profit
    corporation, an employee benefit plan, or a governmental unit including an Indian tribal
                                                                                                           savings accounts




    entity
                                                                                                             Checking and




    Card
    This term includes every type of business debit card and business ATM card we may issue
    This term does not include any prepaid cards or the business deposit card unless otherwise
    noted
    Item
    An item is an order, instruction, or authorization to withdraw or pay funds or money from
                                                                                                           banking services




    an account Examples include a check, draft, and an electronic transaction (including
                                                                                                              Electronic




    Automated Clearing House (ACH), an ATM withdrawal, and a purchase using a card to
    access an account) An item also includes a purported order, instruction, or authorization
    to withdraw or pay funds or money from an account, unless otherwise prohibited by law or
    regulation


                                                                                                       1
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 7 of 53 Page ID
         Introduction
        Overdraft
        An overdraft is a negative balance in your account
        Service
        A service is any service the Bank provides to you including without limitation any Treasury
        Management Service

        What information does the Agreement contain?
        The Agreement
        • Explains the terms of your banking relationship with Wells Fargo,
        • Is the entire Agreement between Wells Fargo and you for your account and any services,
        • Replaces all prior agreements including any oral or written representations, and
        • Includes legal information about your banking relationship with Wells Fargo.
        You are responsible for ensuring that all authorized signers on your account(s) are familiar
        with this Agreement
        We suggest you retain a copy of the Agreement — and any further information we provide you
        regarding changes to the Agreement — for as long as you maintain your Wells Fargo accounts

        Are we allowed to change the Agreement?
        Yes, we can change the Agreement by adding new terms or conditions, or by modifying or
        deleting existing ones We refer to each addition, modification, or deletion to the Agreement
        as a “modification.”
        Notice of a modification: If we are required to notify you of a modification to the
        Agreement, we will describe the modification and its effective date by a message within your
        account statement or any other appropriate means
        Waiver of a term of the Agreement: We may agree in writing to waive a term of the Agreement,
        including a fee. This is called a “waiver.” We may revoke any waiver upon notice to you.

        How do you consent to a modification to the Agreement?
        You consent to a modification to the Agreement if you continue to use your account after a
        modification becomes effective or a waiver is revoked

        What happens if a term of the Agreement is determined to be invalid?
        Any term of the Agreement that is inconsistent with the laws governing your account will
        be considered to be modified by us and applied in a manner consistent with such laws Any
        term of the Agreement that a court of competent jurisdiction determines to be invalid will
        be modified accordingly In either case, the modification will not affect the enforceability or
        validity of the remaining terms of the Agreement

        Who will we communicate with about your account?
        We may provide you or an authorized signer with information about your account When we
        receive information from an authorized signer, we treat it as a communication from you You agree
        to notify us promptly in writing if an authorized signer no longer has authority on your account




   2 Business Account Agreement – Effective April 24, 2017
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 8 of 53 Page ID
     Resolving disputes through arbitration
    Arbitration Agreement between you and Wells Fargo
    If you have a dispute, we hope to resolve it as quickly and easily as possible First, discuss




                                                                                                                  Introduction
    your dispute with a banker If your banker is unable to resolve your dispute, you agree that
    either Wells Fargo or you can initiate arbitration as described in this section
    Definition: Arbitration means an impartial third party will hear the dispute between
    Wells Fargo and you and provide a decision Binding arbitration means the decision of the
    arbitrator is final and enforceable. A “dispute” is any unresolved disagreement between




                                                                                                               through arbitration
    Wells Fargo and you. A “dispute” may also include a disagreement about this Arbitration




                                                                                                               Resolving disputes
    Agreement’s meaning, application, or enforcement
    Except as stated in “No waiver of self-help or provisional remedies” below, Wells Fargo
    and you agree, at Wells Fargo’s or your request, to submit to binding arbitration all claims,
    disputes, and controversies between or among Wells Fargo and you (and their respective
    employees, officers, directors, attorneys, and other agents), whether in tort, contract or
    otherwise arising out of or relating in any way to your account(s) and/or service(s), and their
    negotiation, execution, administration, modification, substitution, formation, inducement,




                                                                                                               Important legal
    enforcement, default, or termination (each, a “dispute”).




                                                                                                                 information
    DISPUTES SUBMITTED TO ARBITRATION ARE NOT RESOLVED IN COURT BY A JUDGE OR
    JURY TO THE EXTENT ALLOWED BY APPLICABLE LAW, WELLS FARGO AND YOU EACH
    IRREVOCABLY AND VOLUNTARILY WAIVE THE RIGHT EACH MAY HAVE TO A TRIAL BY
    JURY FOR ANY DISPUTE ARBITRATED UNDER THIS AGREEMENT
    Aside from self-help remedies, this Arbitration Agreement has only one exception: Either
    Wells Fargo or you may still take any dispute to small claims court




                                                                                                               error notifications
                                                                                                                Statements and
    Arbitration is beneficial because it provides a legally binding decision in a more streamlined,
    cost-effective manner than a typical court case But, the benefit of arbitration is diminished if
    either Wells Fargo or you refuse to submit to arbitration following a lawful demand Thus, the
    party that does not agree to submit to arbitration after a lawful demand by the other party
    must pay all of the other party’s costs and expenses for compelling arbitration

    Can either Wells Fargo or you participate in class or representative actions?
    No, Wells Fargo and you agree that the resolution of any dispute arising pursuant to the                   responsibilities
    terms of this Agreement will be resolved by a separate arbitration proceeding and will not                   Rights and
    be consolidated with other disputes or treated as a class Neither Wells Fargo nor you will be
    entitled to join or consolidate disputes by or against others as a representative or member
    of a class, to act in any arbitration in the interests of the general public, or to act as a private
    attorney general If any provision related to a class action, class arbitration, private attorney
    general action, other representative action, joinder, or consolidation is found to be illegal or
                                                                                                               savings accounts




    unenforceable, the entire Arbitration Agreement will be unenforceable
                                                                                                                 Checking and




    What rules apply to arbitration?
    Wells Fargo and you each agree that the arbitration will:
    • Proceed in a location mutually agreeable to Wells Fargo and you, or if the parties cannot
      agree, in a location selected by the American Arbitration Association (AAA) in the state
      whose laws govern your account
                                                                                                               banking services




    • Be governed by the Federal Arbitration Act (Title 9 of the United States Code),
                                                                                                                  Electronic




      notwithstanding any conflicting choice of law provision in any of the documents
      between Wells Fargo and you
    • Be conducted by the AAA, or such other administrator as Wells Fargo and you will
      mutually agree upon, in accordance with the AAA’s commercial dispute resolution
      procedures, unless the claim or counterclaim is at least $1,000,000 exclusive of claimed
                                                                                                           3
e 5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 9 of 53 Page ID
         Resolving disputes through arbitration
            interest, arbitration fees and costs in which case the arbitration will be conducted in
            accordance with the AAA’s optional procedures for large, complex commercial disputes
            (the commercial dispute resolution procedures or the optional procedures for large,
            complex commercial disputes to be referred to, as applicable, as the “rules”).
        If there is any inconsistency between the terms hereof and any such rules, the terms
        and procedures set forth herein will control Any party who fails or refuses to submit to
        arbitration following a lawful demand by any other party will bear all costs and expenses
        incurred by such other party in compelling arbitration of any dispute Nothing contained
        herein will be deemed to be a waiver by Wells Fargo of the protections afforded to it under
        12 U.S.C. Section 91 or any similar applicable state law.

        No waiver of self-help or provisional remedies
        This arbitration requirement does not limit the right of Wells Fargo or you to:
        1 Exercise self-help remedies, including setoff or
        2 Obtain provisional or ancillary remedies such as injunctive relief or attachment, before,
           during, or after the pendency of any arbitration proceeding
        This exclusion does not constitute a waiver of the right or obligation of either party to submit
        any dispute to arbitration or reference hereunder, including those arising from the exercise
        of the actions detailed in (1) and (2) above

        What are the Arbitrator qualifications and powers?
        Any dispute in which the amount in controversy is $5,000,000 or less will be decided by a
        single arbitrator selected according to the rules, and who will not render an award of greater
        than $5,000,000 Any dispute in which the amount in controversy exceeds $5,000,000 will
        be decided by majority vote of a panel of three arbitrators; provided however, that all three
        arbitrators must actively participate in all hearings and deliberations Each arbitrator will be
        a neutral attorney licensed in the state whose laws govern your account, or a neutral, retired
        judge in such state, in either case with a minimum of ten years experience in the substantive
        law applicable to the subject matter of the dispute to be arbitrated The arbitrator(s) will
        determine whether or not an issue is arbitratable and will give effect to the statutes of
        limitation in determining any claim In any arbitration proceeding the arbitrator(s) will decide
        (by documents only or with a hearing at the discretion of the arbitrator(s)) any pre-hearing
        motions which are similar to motions to dismiss for failure to state a claim or motions for
        summary adjudication The arbitrator(s) will resolve all disputes in accordance with the
        substantive law of the state whose laws govern your account and may grant any remedy
        or relief that a court of such state could order or grant within the scope hereof and such
        ancillary relief as is necessary to make effective any award The arbitrator(s) will also have the
        power to award recovery of all costs and fees, to impose sanctions, and to take such other
        action as deemed necessary to the same extent a judge could pursuant to the federal rules
        of civil procedure, the state rules of civil procedure for the state whose laws govern your
        account, or other applicable law Judgment upon the award rendered by the arbitrator(s)
        may be entered in any court having jurisdiction The institution and maintenance of an
        action for judicial relief or pursuit of a provisional or ancillary remedy will not constitute a
        waiver of the right of any party, including the plaintiff, to submit the controversy or claim to
        arbitration if any other party contests such action for judicial relief




   4 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 10 of 53 Page ID
   Resolving disputes through arbitration
   Is discovery permitted in arbitration?




                                                                                                           Introduction
   Yes, in any arbitration proceeding, discovery will be permitted in accordance with the rules
   All discovery will be expressly limited to matters directly relevant to the dispute being
   arbitrated and must be completed no later than 20 days before the hearing date Any
   requests for an extension of the discovery periods, or any discovery disputes, will be subject
   to final determination by the arbitrator upon a showing that the request for discovery is
   essential for the party’s presentation and that no alternative means for obtaining information
   is available




                                                                                                        through arbitration
                                                                                                        Resolving disputes
   Who pays the arbitration fees and expenses?
   The arbitrator will award all costs and expenses of the arbitration proceeding

   Are there additional rules for an arbitration proceeding?
   Yes, to the maximum extent practicable, the AAA, the arbitrator(s), Wells Fargo and you
   will take all action required to conclude any arbitration proceeding within 180 days of the




                                                                                                        Important legal
   filing of the dispute with the AAA The arbitrator(s), Wells Fargo or you may not disclose the




                                                                                                          information
   existence, content, or results thereof, except for disclosures of information by Wells Fargo
   or you required in the ordinary course of business, by applicable law or regulation, or to
   the extent necessary to exercise any judicial review rights set forth herein If more than one
   agreement for arbitration by or between Wells Fargo and you potentially applies to a dispute,
   the arbitration agreement most directly related to your account or the subject matter of the
   dispute will control This arbitration agreement will survive the closing of your account or




                                                                                                        error notifications
   termination of any service or the relationship between Wells Fargo and you




                                                                                                         Statements and
   Do Wells Fargo and you retain the right to pursue in small claims court certain
   claims?
   Yes, notwithstanding anything to the contrary, Wells Fargo and you each retains the right
   to pursue in small claims court any dispute within that court’s jurisdiction Further, this
   arbitration agreement will apply only to disputes in which either party seeks to recover an
   amount of money (excluding attorneys’ fees and costs) that exceeds the jurisdictional limit of
   the small claims court                                                                               responsibilities
                                                                                                          Rights and
                                                                                                        savings accounts
                                                                                                          Checking and
                                                                                                        banking services
                                                                                                           Electronic




                                                                                                    5
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 11 of 53 Page ID
        Important legal information
       What laws govern your account?
       The laws governing your account include
       • Laws, rules, and regulations of the United States, and
       • Laws of the state where you opened your account (without regard to conflict of laws
          principles)
       If a different state law applies, we will notify you; however, for certain account types (non-
       analyzed and savings accounts), your account statement will identify the state whose laws
       govern your account
       Any funds transfer (including a wire transfer) that is a “remittance transfer” as defined in
       Regulation E, Subpart B, will be governed by the laws of the United States and, to the extent
       applicable, the laws of the state of New York, including New York’s version of Article 4A of the
       Uniform Commercial Code, without regard to its conflict of laws principles.

       What is the controlling language of our relationship?
       English is the controlling language of our relationship with you Items you write such
       as checks or withdrawal slips must be written in English For your convenience, we may
       translate some forms, disclosures, and advertisements into another language If there is a
       discrepancy between our English-language and translated materials, the English version
       prevails over the translation

       What agreement applies when there is a separate agreement for a service?
       If a service we offer has a separate agreement, and there is a conflict between the terms of
       the Agreement and the separate agreement, the separate agreement will apply

       What courts may be used to resolve a dispute?
       Wells Fargo and you each agree that any lawsuits, claims, or other proceedings arising from
       or relating to your account or the Agreement, including the enforcement of the Arbitration
       Agreement and the entry of judgment on any arbitration award, will be venued exclusively
       in the state or federal courts in the state whose laws govern your account, without regard to
       conflict of laws principles

       How will we contact you about your account?
       In order for us to service your account or collect any amount you owe, you agree that we may
       contact you by phone, text, email, or mail We are permitted to use any address, telephone
       number or email address you provide You agree to provide accurate and current contact
       information and only give us phone numbers and email addresses that belong to you
       When you give us a phone number, you are providing your express consent permitting us
       (and any party acting on behalf of Wells Fargo) to contact you at the phone number you
       provide We may call you and send you text messages When we call you, you agree that
       we may leave prerecorded or artificial voice messages You also agree that we may use
       automatic telephone dialing systems in connection with calls or text messages sent to any
       telephone number you give us, even if the telephone number is a mobile phone number or
       other communication service for which the called party is charged




  6 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 12 of 53 Page ID
   Statements and other information relating to your
   deposit account
   How do we share account statements and other notices with you?




                                                                                                             Introduction
   We will mail, send electronically, or otherwise make available to you an account statement
   reflecting your account activity for each statement period We’ll do the same with notices We
   will send all account statements and notices to the postal or electronic address associated
   with your account
   Combined account statements: To reduce the number of separate account statements




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   you receive each month, we may combine statements if you have more than one deposit
   account
   • If we provide a combined account statement for your accounts, we consider your first
      account as your primary account You will receive your account statement at the address
      listed for your primary account Statements for accounts in a combined statement will be
      delivered according to the delivery preference of the primary account
   • If you do not want us to automatically combine your accounts, you can opt-out by
      visiting a banking location or calling the number on your account statement




                                                                                                          Important legal
                                                                                                            information
   When is your account statement available?
   Mailed account statements: When we mail your account statement, we consider it received
   by you on the second business day after mailing it
   Electronic delivery of account statements: Account statements will be made available
   through Wells Fargo Business Online® 24 – 48 hours after the end of the statement period




                                                                                                          error notifications
   You will be notified via email that the account statement is available for viewing We consider




                                                                                                           Statements and
   the account statement to be received by you on the notification date, even if the email
   notification is undelivered

   What obligations do you have to review account statements and notices and
   notify us of errors?
   You are obligated to:
   • Examine your account statement promptly and carefully.
                                                                                                          responsibilities
   • Notify us promptly of any errors.                                                                      Rights and
   • Notify us within 30 days after we have made your account statement available to you of
      any unauthorized transaction on your account. Note: If the same person has made two
      or more unauthorized transactions and you fail to notify us of the first one within this 30
      day period, we will not be responsible for unauthorized transactions made by the same
      wrongdoer
                                                                                                          savings accounts




   • Notify us within 6 months after we have made your account statement available to you if
                                                                                                            Checking and




      you identify any unauthorized, missing or altered endorsements on your items
   Electronic fund transfers are subject to different time periods, as described in the “Electronic
   fund transfer services” part of this booklet. Common examples of electronic fund transfers
   are ATM, debit card, and Online Bill Pay transactions

   When is a transaction unauthorized?
                                                                                                          banking services




   A transaction is an “unauthorized transaction” when it is
                                                                                                             Electronic




   • Missing a required signature or other evidence showing you have authorized it, or
   • Altered (for example, the amount of a check or the payee’s name is changed).



                                                                                                      7
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 13 of 53 Page ID
        Statements and other information relating to your
        deposit account
       You can notify us of errors on your account statements by promptly
       • Calling the telephone number listed on your account statement or in a notice, or
       • Submitting a written report (if instructed by us) as soon as possible, but in any event
          within the specified time frames

       What happens if you fail to notify us of an unauthorized transaction within the
       time frames specified above?
       If you fail to notify us of any unauthorized transaction, error, or claim for a credit or refund
       within the time frames specified above, your account statement will be considered correct
       We will not be responsible for any unauthorized transaction, error, or claim for transactions
       included in this statement

       What happens when you report an unauthorized transaction?
       We investigate any reports of unauthorized activity on your account After you submit a
       claim, we may require you to:
       • Complete the claim form we provide,
       • Notify law enforcement,
       • Complete and return any documents we request, and
       • Cooperate fully with us in our investigation.
       We can reverse any credit made to your account resulting from a claim of unauthorized
       transaction if you do not cooperate fully with us in our investigation or recovery efforts, or
       we determine the transaction was authorized

       Protection against unauthorized items
       You acknowledge that there is a growing risk of losses resulting from unauthorized items We
       offer services that provide effective means for controlling the risk from unauthorized items
       These services include:
       • Positive pay, positive pay with payee validation, or reverse positive pay
       • ACH fraud filter and
       • Payment Authorization service
       In addition, we may recommend you use certain fraud prevention practices to reduce your
       exposure to fraud. Each of these practices is an industry “best practice.” An example of a best
       practice is dual custody, which requires a payment or user modification initiated by one user to
       be approved by a second user on a different computer or mobile device before it takes effect
       If we have expressly recommended that you use one or more of these services or best
       practice (or any other service related to fraud prevention that we offer after the date of this
       Agreement) and you (a) either decide not to use the recommended service or best practice or
       (b) fail to use the service or best practice in accordance with the applicable service description
       or our other documentation applicable to the service or best practice, you will be treated as
       having assumed the risk of any losses that could have been prevented if you had used the
       recommended service or best practice in accordance with the applicable service description
       or applicable documentation




  8 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 14 of 53 Page ID
   Statements and other information relating to your
   deposit account
   Are you responsible for taking reasonable steps to help prevent fraud and




                                                                                                        Introduction
   embezzlement on your account?
   Yes, you agree to take reasonable steps to ensure the integrity of your internal procedures
   with respect to your account and items drawn on your account or deposited to it To help
   prevent embezzlement and protect your business assets, we recommend that you:
   • Assign responsibilities for your account to multiple individuals. Those who reconcile




                                                                                                     through arbitration
                                                                                                     Resolving disputes
      statements for your account should be different from those who issue items drawn on
      your account
   • Reconcile statements for your account as you receive them and notify us immediately of
      any problem
   • Contact us promptly if you do not receive the statement for your account when you
      would normally expect to
   • Watch for checks cashed out of sequence or made out to cash. These are classic red flags
      for embezzlement




                                                                                                     Important legal
                                                                                                       information
   • Secure your supply of checks at all times. Stolen checks items are a common method of
      embezzlement
   • Periodically reassign accounting duties such as reconciling your account or making a
      deposit
   • Review your transaction activity for unexpected fluctuations (e.g. compare the
      percentage of cash deposits to total deposit size) Most businesses will maintain a




                                                                                                     error notifications
                                                                                                      Statements and
      constant average A large fluctuation might indicate embezzlement
   • Destroy any check that you do not intend to use
   • Use tamper resistant check items at all times
   • Notify us immediately when an authorized signer’s authority ends so that his/her name
      can be removed from all signature cards and online banking access, and any cards we
      have issued to him/her can be cancelled
   • Do not sign blank checks
   • Obtain insurance coverage for these risks                                                       responsibilities
                                                                                                       Rights and
   What happens if your account statements or notices are returned or are
   undeliverable?
   Your account statements or notices will be considered unclaimed or undeliverable if
   • Two or more account statements or notices are returned to us through the mail because
                                                                                                     savings accounts




      of an incorrect address; or
                                                                                                       Checking and




   • We notify you electronically that your account statement is available for viewing at
      Wells Fargo Business Online, and we receive email notifications that our message is
      undeliverable
   In either event, we may
   • Discontinue sending account statements and notices, and
   • Destroy account statements and notices returned to us as undeliverable.
                                                                                                     banking services
                                                                                                        Electronic




   We will not attempt to deliver account statements and notices to you until you provide us
   with a valid postal or electronic address




                                                                                                 9
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 15 of 53 Page ID
        Statements and other information relating to your
        deposit account
       How can you or Wells Fargo change your address for your account?
       Address change requests you make: You can change your postal or email address by
       notifying us in writing or calling us at the number on your account statement at any time If
       you have a combined account statement, any owner of the first account (primary account)
       can change the address of all accounts included in the combined account statement We
       will act on your request within a reasonable time after we receive it. Unless you instruct
       otherwise, we may change the postal or electronic address only for the account(s) you
       specify or for all or some of your other account(s) with us
       Address changes we make: When necessary, we may update your listed address without a
       request from you if we receive
       • An address change notice from the U.S. Postal Service or
       • Information from another party in the business of providing correct address details that
          does not match your account’s listed address

       When are notices you send to us effective?
       Any notice from you is effective once we receive it and have a reasonable opportunity to act
       on it

       Are original paid checks returned with account statements?
       No We do not return original paid checks with your account statements Copies of your
       paid checks are available through Wells Fargo Business Online, banking locations, by calling
       Wells Fargo National Business Banking Center, or by enrolling in our check images with
       statements service Fees may apply for this service

       When does my account become dormant?
       Generally, your account becomes dormant if you do not initiate an account-related activity
       for 12 months for a checking account, 34 months for a savings account, or 34 months after
       the first renewal for a Time Account (CD) An account-related activity is determined by
       the laws governing your account Examples of account-related activity are depositing or
       withdrawing funds at a banking location or ATM, or writing a check which is paid from the
       account Automatic transactions (including recurring and one-time), such as pre-authorized
       transfers/payments and electronic deposits, set up on the account may not prevent the
       account from becoming dormant

       What happens to a dormant account?
       We put safeguards in place to protect a dormant account which may include restricting the
       following:
       •   Transfers between your Wells Fargo accounts using your ATM/debit card
       •   Transfers by phone using our automated banking service
       •   Transfers or payments through online, mobile, and text banking (including Bill Pay)
       •   Wire transfers (incoming and outgoing)
       Normal monthly service and other fees continue to apply (except where prohibited by law)
       If you do not initiate an account-related activity on the account within the time period as
       specified by state law, your account funds may be transferred to the appropriate state This
       transfer is known as “escheat.” Your account will be closed. To recover your account funds,
       you must file a claim with the state


  10 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 16 of 53 Page ID
   Statements and other information relating to your
   deposit account
   What are checking subaccounts?




                                                                                                            Introduction
   For each checking account you maintain with us, we may establish on your behalf a master
   account and two subaccounts
   All information that is made available to you about your account will be at the master
   account level The subaccounts are composed of a savings account and a checking account
   On the first day of each month, we will allocate funds between the two subaccounts as




                                                                                                         through arbitration
                                                                                                         Resolving disputes
   appropriate Items received by us that are drawn against your master account will be
   presented for payment against the checking subaccount Funds will be transferred from
   the savings subaccount as may be needed to cover checks presented on the checking
   subaccount On the sixth transfer from the savings subaccount during a statement period,
   all of the funds on deposit in the savings subaccount will be transferred to the checking
   subaccount If your account earns interest, the use of subaccounts will not affect the interest
   you earn




                                                                                                         Important legal
                                                                                                           information
                                                                                                         error notifications
                                                                                                          Statements and
                                                                                                         responsibilities
                                                                                                           Rights and
                                                                                                         savings accounts
                                                                                                           Checking and
                                                                                                         banking services
                                                                                                            Electronic




                                                                                                    11
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 17 of 53 Page ID
        Rights and responsibilities
       What responsibilities and liabilities do Wells Fargo and you have to each other?
       We are responsible for exercising “ordinary care” and complying with the Agreement. When
       we take an item for processing by automated means, “ordinary care” does not require us to
       examine the item. In all other cases, “ordinary care” requires only that we follow standards that
       do not vary unreasonably from the general standards followed by similarly situated banks
       Except to the extent we fail to exercise “ordinary care” or to comply with the Agreement,
       you agree to indemnify and hold us harmless from all claims, demands, losses, liabilities,
       judgments, and expenses (including attorney’s fees and expenses) arising out of or in any
       way connected with our performance under the Agreement You agree this indemnification
       will survive termination of the Agreement
       In no event will either Wells Fargo or you be liable to the other for any special, consequential,
       indirect or punitive damages The limitation does not apply where the laws governing your
       account prohibit it
       We will not have any liability to you if your account has non-sufficient available funds to pay
       your items due to actions we have taken in accordance with the Agreement
       Circumstances beyond your control or ours may arise and make it impossible for us to
       provide services to you or for you to perform your duties under the Agreement If this
       happens, neither Wells Fargo nor you will be in breach of the Agreement
       If we waive a right with respect to your account on one or more occasions, it does not mean
       we are obligated to waive the same right on any other occasion

       What are we allowed to do if there is an adverse claim against your account?
       An “adverse claim” occurs when
       • Any person or entity makes a claim against your account funds,
       • We believe a conflict exists between or among your account’s owners, or
       • We believe a dispute exists over who has account ownership or authority to withdraw
          funds from your account
       In these situations, we may take any of the following actions without any responsibility to you:
       • Continue to rely on the signature card(s) for your account.
       • Honor the claim against your account funds if we are satisfied the claim is valid.
       • Freeze all or a part of the funds in your account until we believe the dispute is resolved to
           our satisfaction
       • Close your account and send a check for the available balance in your account payable to
           you or to you and each person or entity who claimed the funds
       • Pay the funds into an appropriate court.
       We also may charge any account you maintain with us for our fees and expenses in taking
       these actions (including attorney’s fees and expenses)

       If you carry special insurance for employee fraud/embezzlement, can we require
       you to file your claim with your insurance company before making any claim
       against us?
       Yes, as many businesses carry special insurance for employee fraud/embezzlement If you
       do, we reserve the right to require you to file your claim with your insurance company before
       making any claim against us In such event, we will consider your claim only after we have
       reviewed your insurance company’s decision, and our liability to you, if any, will be reduced
       by the amount your insurance company pays you

  12 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 18 of 53 Page ID
   Rights and responsibilities
   Are we allowed to restrict access to your account?




                                                                                                             Introduction
   Yes, if we suspect any suspicious, unauthorized, or unlawful activities, we can restrict access
   to your account and other accounts with us that you maintain or control
   How do we handle legal process?
   Legal process includes any levy, garnishment or attachment, tax levy or withholding order,
   injunction, restraining order, subpoena, search warrant, government agency request for
   information, forfeiture or seizure, and other legal process relating to your account




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   We will accept and act on any legal process we believe to be valid, whether the process is
   served in person, by mail, by electronic notification, or at any banking location
   If we incur any fees or expenses (including attorney’s fees and expenses) due to responding
   to legal process related to your account, we may charge these costs to any account you
   maintain with us
   Are transactions subject to verification by the Bank?




                                                                                                          Important legal
   Yes All transactions are subject to the Bank’s verification This includes cash, items, or




                                                                                                            information
   other funds offered for deposit for which we have provided a receipt We do not verify all
   transactions We reserve the right to reverse or otherwise adjust, at any time without prior
   notice to you, any debit or credit we believe we have erroneously made to your account
   Who is responsible to make sure the declared amount of funds offered for
   deposit is accurate?




                                                                                                          error notifications
                                                                                                           Statements and
   It is your responsibility, and the Bank has no obligation, to make sure the declared amount
   of funds offered for deposit is accurate If we determine a discrepancy exists between the
   declared and the actual amount of the funds, we are permitted to adjust (debit or credit)
   your account We are also permitted to use the declared amount as the correct amount to be
   deposited and to not adjust a discrepancy if it is less than our standard adjustment amount
   We are permitted to vary our standard adjustment amount from time to time without notice
   to you and to use different amounts depending on account type

                                                                                                          responsibilities
   If you notify us of an error in the amount of a deposit shown on your account statement
   within 30 days of the date we mail or otherwise make the account statement available to                  Rights and
   you, we will review the deposit and make any adjustment we determine is appropriate,
   subject to any applicable fees
   If you fail to notify us during this time frame, the deposit amount on your statement will
   be considered correct This means that if the actual amount is less than the amount on the
   statement, the difference will become your property If the actual amount is more than the
                                                                                                          savings accounts




   amount shown on the statement, the difference will become the Bank’s property
                                                                                                            Checking and




   Can you arrange to have us adjust all discrepancies identified during any
   verification without regard to our standard adjustment amount?
   Yes If your account is an analyzed business deposit account, you may arrange for the Bank
   to adjust all discrepancies identified during any verification without regard to our standard
   adjustment amount by contacting your local banker or calling the number on your statement
                                                                                                          banking services




   Are we allowed to convert your account without your request?
                                                                                                             Electronic




   Yes, we can convert your account to another type of deposit account (by giving you any
   required notice) if
   • You use it inappropriately or fail to meet or maintain the account’s requirements, or
   • We determine an account is inappropriate for you based on your use, or
   • We stop offering the type of account you have.
                                                                                                     13
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 19 of 53 Page ID
        Rights and responsibilities
       When can you close your account?
       If you request to close your account, we may allow you to keep funds in your account to
       cover outstanding items to be paid
       • If we do allow you to keep funds in your account:
           - For interest-earning accounts, it stops earning interest from the date you request to close
             your account
           - Overdraft Protection and/or Debit Card Overdraft will be removed on the date you
             request to close your account
           - The Agreement continues to apply
           - All outstanding items need to post and the account’s balance needs to be brought to zero
             within 30 days from the date of your request to close After 30 days, unless your account
             has a negative balance, your account will be closed
       • We will not be liable for any loss or damage that may result from not honoring items that
           are presented or received after your account is closed
       You can close your account at any time if the account is in good standing (e g , does not
       have a negative balance or any restrictions such as legal order holds or court blocks on the
       account)
       When can we close your account?
       We reserve the right to close your account at any time If we close your account, we may send
       the remaining balance on deposit in your account by traditional mail or credit it to another
       account you maintain with us
       Are we allowed to terminate or suspend a service related to your account?
       Yes, we can terminate or suspend specific services (e g , wire transfers) related to your account
       without closing your account and without prior notice to you You can discontinue using a
       service at any time
       Are we allowed to obtain credit reports or other reports about you?
       Yes, we can obtain a credit or other report about you and your co-owners to help us determine
       whether to open or maintain an account Other reports we can obtain include information
       from the following: 1) motor vehicle departments, 2) other state agencies, or 3) public records.
       When do we share information about your account with others?
       Generally, if we do not have your consent, we will not share information about your account
       However, we may share information about your account in accordance with our Privacy
       Policy separately given to you

       Are we allowed to monitor and record communications?
       Yes, we can monitor, record, and retain your communications with us at any time without
       further notice to anyone, unless the laws governing your account require further notice
       Monitored and recorded communications include:
       • Telephone conversations,
       • Electronic messages,
       • Electronic records, or
       • Other data transmissions.




  14 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 20 of 53 Page ID
   Rights and responsibilities
   Can Wells Fargo benefit from having the use of funds in customers’ non-interest
   earning accounts?




                                                                                                                 Introduction
   Yes We may benefit from having the use of funds in customers’ non-interest earning
   accounts We may use these funds to reduce our borrowing from other sources such as
   the Fed Funds market or invest them in short-term investments such as its Federal Reserve
   Account. This benefit may be referred to as “spread.” It is not possible to quantify the benefit
   to us that may be attributable to a particular customer’s funds because funds from all
   customers’ non-interest earning accounts are aggregated both for purposes of reducing




                                                                                                              through arbitration
                                                                                                              Resolving disputes
   our borrowing costs and for investment and because our use of funds may vary depending
   on a number of factors including interest rates, Federal Funds rates, credit risks and our
   anticipated funding needs Our use of funds as described in this paragraph has no effect or
   impact on your use of and access to funds in your account
   Can you transfer ownership of your account?
   No assignment will be valid or binding on us, and we will not be considered to have
   “knowledge” of it, until we consent and the assignment is noted in our records. However, by




                                                                                                              Important legal
                                                                                                                information
   noting the assignment, we do not have any responsibility to assure that the assignment is
   valid Any permitted assignment of your account is subject to our setoff rights
   The Agreement is binding on your personal representatives, executors, administrators, and
   successors, as well as our successors and assigns
   Is your wireless operator authorized to provide information to assist in verifying
   your identity?




                                                                                                              error notifications
                                                                                                               Statements and
   Yes, and as a part of your account relationship, we may rely on this information to assist in
   verifying your identity
   You authorize your wireless operator (AT&T, Sprint, T-Mobile, US Cellular, Verizon, or any other
   branded wireless operator) to use your mobile number, name, address, email, network status,
   customer type, customer role, billing type, mobile device identifiers (IMSI and IMEI) and
   other subscriber status details, if available, solely to allow verification of your identity and to
   compare information you have provided to Wells Fargo with your wireless operator account
                                                                                                              responsibilities
                                                                                                                Rights and
   profile information for the duration of the business relationship
   You may opt out of this information sharing by contacting your wireless operator directly
                                                                                                              savings accounts
                                                                                                                Checking and
                                                                                                              banking services
                                                                                                                 Electronic




                                                                                                         15
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 21 of 53 Page ID
        Deposits to your account
       Are there any restrictions on our accepting deposits to your account?
       We may accept a deposit to your account at any time and from any person When we cannot
       verify an endorsement, we can refuse to pay, cash, accept for deposit, or collect the item
       Also, we may require all endorsers be present We may require you to deposit an item instead
       of permitting you to cash it Checks drawn on credit account or made out to payees not on
       the account may not be accepted or may be sent for collection We reserve the right to refuse
       for deposit or to require to be sent for collection an item drawn on a credit account or to a
       payee not on the account For a deposit made to your account, we may require an acceptable
       form of primary identification in order to make such deposit
       What happens if we send an item for collection?
       We may, upon notice to you, send an item for collection instead of treating it as a deposit
       This means that we send the item to the issuer’s bank for payment Your account will not be
       credited for the item until we receive payment for it
       What are the requirements for a correct endorsement?
       An “endorsement” is a signature, stamp, or other mark on the back of a check. If you have
       not endorsed a check that you deposited to your account, we may endorse it for you Your
       endorsement (and any other endorsement before the check is deposited) must be in the
       1-1/2–inch area that starts on the top of the back of the check (see sample below) Do not
       sign or write anywhere else on the back of the check




       Are we bound by restrictions or notations on checks?
       No, we are not bound by restrictions or notations, such as “Void after six months,” “Void over
       $50,” and “Payment in full.”
       When you cash or deposit a check with a notation or restriction, you are responsible for any
       loss or expense we incur relating to the notation or restriction
       What is a “substitute check?”
       A substitute check is created from an original check; under federal law, it is legally equivalent
       to that original check A substitute check contains an accurate copy of the front and back of
       the original check and bears the legend: “This is a legal copy of your check. You can use it the
       same way you would use the original check.” As noted in the legend, a substitute check is the
       same as the original check for all purposes, including proving that you made a payment Any
       check you issue or deposit that is returned to you may be returned in the form of a substitute
       check You agree that you will not transfer a substitute check to us, by deposit or otherwise,
       if we would be the first financial institution to take the substitute check, unless we have
       expressly agreed in writing to take it

  16 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 22 of 53 Page ID
   Deposits to your account
   What happens if you breach a warranty associated with an item?




                                                                                                                Introduction
   If you breach any warranty you make to us under the laws governing your account with
   respect to any item, you will not be released or discharged from any liability for the breach so
   long as we notify you of the breach within 120 days after we learn of the breach If we fail to
   notify you within this 120 day period, you will be released from liability and discharged only
   to the extent our failure to notify you within this time period caused a loss to you
   How do we handle non-U S items?




                                                                                                           through arbitration
                                                                                                           Resolving disputes
   A “non-U.S. item” is an item 1) payable in a currency other than U.S. dollars or 2) drawn on
   a financial institution that is not organized under U.S. law. We are not required to accept a
   non-U.S. item for deposit to your account or for collection. We may accept non-U.S. items on
   a collection basis without your specific instruction to do so We can reverse any amount we
   have credited to your account and send the item on a collection basis even if we have taken
   physical possession of the item
   If we accept a non-U.S. item, the U.S. dollar amount you receive for it will be determined by
   our exchange rate that is in effect at the time of deposit or our receipt of final payment (less




                                                                                                           Important legal
                                                                                                             information
   any associated fees) of the collection item. If the non-U.S. deposited item is returned unpaid
   for any reason, we will charge the amount against your account (or any other account you
   maintain with us) at the applicable exchange rate in effect at the time of the return
   Our funds availability policy does not apply to a non-U.S. item
   What is our responsibility for collecting a deposited item?




                                                                                                           error notifications
   We are responsible for exercising ordinary care when collecting a deposited item We will




                                                                                                            Statements and
   not be responsible for the lack of care of any bank involved in the collection or return of a
   deposited item, or for an item lost in collection or return
   What happens when a deposited or cashed item is returned unpaid?
   We can deduct the amount of the deposited or cashed item from your account (or any other
   account you maintain with us) We can do this when we are notified that the item will be
   returned We do not need to receive the actual item (and usually do not receive it) We can do
   this even if you have withdrawn the funds and the balance in your account is not sufficient to          responsibilities
   cover the amount we hold or deduct and your account becomes overdrawn In addition, we                     Rights and
   will charge you all applicable fees and reverse all interest accrued on the item
   We may place a hold on or charge your account for any check or other item deposited
   into your account if a claim is made or we otherwise have reason to believe the check or
   other item was altered, forged, unauthorized, has a missing signature, a missing or forged
   endorsement, or should not have been paid, or may not be paid, or for any other reason
                                                                                                           savings accounts banking services
                                                                                                             Checking and




   When the claim is finally resolved, we will either release the hold or deduct the amount of
   the item from your account We are not legally responsible if we take or fail to take any action
   to recover payment of a returned deposited item

   What happens when an electronic payment is reversed?
   We may deduct the amount of an electronic payment credited to your account (e g , direct
   deposit) that is reversed We can deduct the amount from any account you have with us at
   any time without notifying you You agree to immediately repay any overdrafts resulting from
                                                                                                                               Electronic




   the reversed payment

   Are you responsible for assisting us in reconstructing a lost or destroyed
   deposited item?
   If a deposited item is lost or destroyed during processing or collection, you agree to provide
   all reasonable assistance to help us reconstruct the item                                          17
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 23 of 53 Page ID
        Funds availability policy
       Your ability to withdraw funds
       Our policy is to make funds from your check deposits to your checking or savings account
       (in this policy, each an “account”) available to you on the first business day after the day we
       receive your deposits Incoming wire transfers, electronic direct deposits, cash deposited at
       a teller window and at a Wells Fargo ATM, and the first $400 of a day’s check deposits at a
       teller window and at a Wells Fargo ATM will be available on the day we receive the deposits
       Certain electronic credit transfers, such as those through card networks or funds transfer
       systems, will be available on the first business day after the day we receive the transfer Once
       they are available, you can withdraw the funds in cash and we will use the funds to pay
       checks and other items presented for payment and applicable fees that you have incurred
       The first $400 of a business day’s check deposits to an analyzed account are not available to
       you on the day we receive the deposits Check deposits to an analyzed account are available
       on the first business day after we receive your deposits
       Determining the day of receipt
       For determining the availability of your deposits, every day is a business day, except
       Saturdays, Sundays, and federal holidays If you make a deposit before our established
       cutoff time on a business day that we are open, we will consider that day to be the day of
       your deposit. However, if you make a deposit after our cutoff time or on a day we are not
       open, we will consider the day the deposit was made to be the next business day we are open
       Our established cutoff time is when a branch closes for business and may vary by location The
       cutoff time for checks deposited at a Wells Fargo ATM is 9:00 p.m. local time (8:00 p.m. in Alaska).
       Longer delays may apply
       In some cases, we will not make the first $400 of a business day’s check deposits available to
       you on the day we receive the deposits Further, in some cases, we will not make all the funds
       that you deposit by check available to you on the first business day after the day of your
       deposit Depending on the type of check that you deposit, funds may not be available until
       the second business day after the day of your deposit The first $200 of your deposit, however,
       may be available on the first business day
       Except as otherwise explained in this paragraph, if we are not going to make all funds from
       your deposit available on the business day of deposit or the first business day after the day of
       deposit, we will notify you at the time you make your deposit We will also tell you when the
       funds will be available If your deposit is not made directly to a Wells Fargo employee, or if we
       decide to take this action after you have left the premises, we will mail you the notice by the
       first business day after we receive your deposit
       If you need the funds from a deposit right away, you may ask us when the funds will be available
       In addition, funds you deposit by check may be delayed for a longer period under the
       following circumstances:
       • We believe a check you deposit will not be paid
       • You deposit checks totaling more than $5,000 on any one day
       • You redeposit a check that has been returned unpaid
       • You have overdrawn your account repeatedly in the last 6 months
       • There is an emergency, such as failure of computer or communications equipment




  18 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 24 of 53 Page ID
   Funds availability policy
   We will notify you if we delay your ability to withdraw funds for any of these reasons, and we
   will tell you when the funds will be available The funds will generally be available no later




                                                                                                                 Introduction
   than the seventh business day after the day of your deposit
   Special rules for new accounts
   If you are a new customer, the following special rules will apply during the first 30 days your
   account is open Incoming wire transfers, electronic direct deposits, and cash deposited at a
   teller window and at a Wells Fargo ATM will be available on the day we receive the deposit




                                                                                                            through arbitration
                                                                                                            Resolving disputes
   Funds from your check deposits will be available on the business day after the day we receive
   the deposits; no funds from a business day’s check deposits are available on the day we
   receive the deposits
   If we delay the availability of your deposit the following special rules may apply:
   • The first $5,000 of a day’s total deposits of cashier’s, certified, teller’s, traveler’s, and
       federal, state, and local government checks and U.S. Postal Service money orders made
       payable to you will be available on the first business day after the day of your deposit




                                                                                                            Important legal
   • The excess over $5,000 and funds from all other check deposits will be available on the




                                                                                                              information
       seventh business day after the day of your deposit The first $200 of a day’s total deposit
       of funds from all other check deposits, however may be available on the first business day
       after the day of your deposit
   We will notify you if we delay your ability to withdraw funds and we will tell you when the
   funds will be available
   Holds on other funds (check cashing)




                                                                                                            error notifications
                                                                                                             Statements and
   If we cash a check for you that is drawn on another bank, we may withhold the availability
   of a corresponding amount of funds that are already in your account Those funds will be
   available at the time funds from the check we cash would have been available if you had
   deposited it
   Holds on other funds (other account)
   If we accept a check for deposit that is drawn on another bank, we may make funds from
   the deposit available for withdrawal immediately but delay your ability to withdraw a                    responsibilities
   corresponding amount of funds that you have on deposit in another account with us                          Rights and
   The funds in the other account would then not be available until the time periods that are
   described in this Policy
   Delays on other funds
                                                                                                            savings accounts banking services




   Funds from any deposit (cash or checks) made at eligible non-Wells Fargo ATMs using a card
                                                                                                              Checking and




   issued by a Wells Fargo branch located in Iowa1 will not be available until the third business
   day after the day of your deposit This rule does not apply at ATMs that we own or operate All
   ATMs that we own or operate are identified on our machines as “Wells Fargo.”
                                                                                                                                Electronic




   1
       Also applies to a card issued by the National Business Banking Center or Wells Fargo Business
       Online that is linked to a primary account opened in Iowa


                                                                                                       19
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 25 of 53 Page ID
        Available balance, posting order, and overdrafts
       How do we determine your account’s available balance?
       Your account’s available balance is our most current record of the amount of money available
       for your use or withdrawal We use the available balance to authorize your transactions
       during the day (e g , debit card purchases and ATM withdrawals) We also use the available
       balance to pay your transactions in our nightly processing We calculate your available
       balance as follows:
       • We start with the ending daily account balance from our prior business day nightly
           processing that includes all transactions deposited to or paid from your account
       • We subtract from this amount any holds placed on a deposit to your account and any
           holds placed due to legal process
       • We add “pending” deposits that are immediately available for your use (including cash
           deposits, electronic direct deposits, and the portion of a paper check deposit we make
           available; see “Funds availability policy” section for details).
       • We subtract “pending” withdrawals that we have either authorized (such as debit
           card purchases and ATM withdrawals) or are known to us (such as your checks and
           preauthorized automatic ACH withdrawals that we receive for payment from your
           account) but have not yet processed
       Important note: The available balance does not reflect every transaction you have initiated
       or previously authorized For example, your available balance may not include the following:
       • Outstanding checks and authorized automatic withdrawals (such as recurring debit card
           transactions, transfers, and ACH transactions that we have not received for payment or
           received too close to our nightly processing to include in your available balance)
       • The final amount of a debit card purchase. For example, we may authorize a purchase
           amount prior to a tip that you add
       • Debit card transactions that have been previously authorized but not sent to us for final
           payment We must release the transaction authorization hold after 3 business days (or
           up to 30 business days for certain types of debit or ATM card transactions, including car
           rental, cash, and international transactions) even though the transaction may be sent for
           payment from your account, which we must honor, at a later date

       How do we process (post) transactions to your account?
       We process transactions each business day (Monday through Friday except federal holidays)
       during a late night process. Once we process your transaction, the results are “posted” to your
       account There are three key steps to this process The most common types of transactions
       are processed as described below
       First, we determine the available balance in your account (as described above) that can
       be used to pay your transactions
       NOTE: Certain “pending” transactions can impact your available balance:
       • Cash deposits or transfers from another Wells Fargo account that are made AFTER the
           displayed cutoff time (where the deposit was made) will be added to your available
           balance if they are made before we start our nightly process
       • Your available balance will be reduced by “pending” withdrawals, such as debit card
           transactions we have authorized and must pay when they are sent to us for payment
           These pending withdrawals may be sent to us for payment at a later date In some
           circumstances, these transactions may be paid into overdraft if other posted transactions
           or fees have reduced your balance before the pending transactions are presented for
           payment


  20 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 26 of 53 Page ID
   Available balance, posting order, and overdrafts
   Then, we sort your transactions into categories before we process them
   • First, we credit your account for deposits, including cash and check deposits and




                                                                                                               Introduction
      incoming transfers, received before the cutoff time at the location the deposit or transfer
      was made
   • Then, we process withdrawals/payments we have previously authorized and cannot
      return unpaid, such as debit card purchases, ATM withdrawals, account transfers, Business
      Bill Pay transactions, and teller-cashed checks If we receive more than one of these
      transactions for payment from your account, we will generally sort and pay them based




                                                                                                          through arbitration
                                                                                                          Resolving disputes
      on the date and time you conducted the transactions For a debit card transaction, if a
      merchant does not seek authorization from the Bank at the time of the transaction, we
      will use the date the transaction is received for payment from your account For some
      transactions, such as Business Bill Pay transactions or teller-cashed checks, the time
      may be assigned by our systems and may vary from the time it was conducted Multiple
      transactions that have the same time will be sorted and paid from lowest to highest
      dollar amount
   • Finally, we use your remaining funds to pay your checks and preauthorized automatic




                                                                                                          Important legal
                                                                                                            information
      ACH payments (such as bills you pay by authorizing a third party to withdraw funds
      directly from your account) If there is more than one of these types of transactions, they
      will be sorted by the date and time that they are received by us Multiple transactions
      that have the same time will be sorted and paid from lowest to highest dollar amount
   Finally, if the available balance in your account is not enough to pay all of your
   transactions, we will take the following steps:




                                                                                                          error notifications
   • First use Overdraft Protection (if applicable): We will transfer/advance available funds




                                                                                                           Statements and
      from a savings and/or credit account you have linked to your checking account for
      Overdraft Protection (described on p 22)
   • Then, decide whether to pay your transaction into overdraft or return it unpaid:
      At our discretion, we may pay a check or automatic payment into overdraft, rather than
      returning it unpaid This is our standard overdraft coverage If we pay the transaction into
      overdraft, it may help you avoid additional fees that may be assessed by the merchant
      Debit card transactions presented to us for payment (whether previously approved by us
      or not) will be paid into overdraft and will not be returned unpaid, even if you do not have        responsibilities
      sufficient funds in your account                                                                      Rights and

     IMPORTANT INFORMATION ABOUT FEES:
     Fees may be assessed with each item paid into overdraft or returned unpaid subject to
     the following:
                                                                                                          savings accounts banking services




        - A single Overdraft Protection Transfer or Advance Fee will be assessed when we
                                                                                                            Checking and




          need to transfer/advance funds from your linked account(s) into your checking
          account, but only if the transfer/advance helped you avoid at least one overdraft or
          returned item
        - If both the ending daily account balance and available balance are overdrawn by
          $5 or less and there are no items returned for non-sufficient funds — after we have
          processed all of your transactions — we will not assess an overdraft fee on the item(s).
        - We limit the number of overdraft and/or returned item (non-sufficient funds/NSF)
          fees to no more than 8 for business accounts per business day
                                                                                                                              Electronic




        - Any overdraft or returned item fees assessed are deducted from your account during
          the morning of the next business day following our nightly process



                                                                                                     21
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 27 of 53 Page ID
        Available balance, posting order, and overdrafts
       What is Overdraft Protection?
       When you enroll in Overdraft Protection, we transfer/advance available funds in your linked
       account(s) to your checking account when needed to cover your transaction(s) You can link
       up to two accounts (one savings, one credit) but we will charge you only one fee, even if we
       need to move money from more than one account Also, we will not charge a fee unless the
       transfer/advance helped you avoid at least one overdraft or returned item If you link two
       accounts, you may tell us which account to use first to transfer/advance funds If you do not
       specify an order, we will first transfer funds from the linked savings account
       • Transfers from linked savings account We will transfer the amount needed (including
          funds to cover the transactions and the transfer fee) from the available money in your
          linked savings account or a minimum of $25 The Overdraft Protection Transfer Fee (if any)
          will be charged to your checking account
       • Advances from linked credit card or line of credit We will advance the exact amount
          needed from the available credit in a linked credit card or a minimum of $25 The
          Overdraft Protection Advance Fee (if any) will be charged to your credit card account
          Advances from an eligible linked Wells Fargo line of credit are made in increments of
          $100 or $300 (specific details will be provided when you link accounts) and the Overdraft
          Protection Advance Fee will be charged to the checking account

       What is Debit Card Overdraft Service?
       Your eligible checking account is automatically enrolled in this optional service The service
       allows Wells Fargo to approve (at our discretion) your ATM and everyday (one-time) debit
       card transaction if you do not have enough money to cover your transaction in your
       checking account or in accounts linked for Overdraft Protection With this service, we
       may approve these transactions into overdraft and allow you to continue with your ATM
       withdrawal or everyday debit card transaction. However, if you do not make a covering
       deposit or transfer before the posted cutoff time (where the deposit or transfer is made),
       overdraft fees will be assessed
       If you remove this service and you do not have enough money in your checking account (or
       in accounts linked for Overdraft Protection), your ATM or everyday debit card transaction will
       not be approved In addition, no overdraft fees will be assessed on ATM or everyday debit
       card transactions that are paid from your account, even if you no longer have sufficient funds
       to cover previously approved transactions

       What is Wells Fargo’s standard overdraft coverage?
       Our standard overdraft coverage is when, at our discretion, we pay checks or automatic
       payments (such as ACH payment) into overdraft rather than returning them unpaid. You
       can request to remove our standard overdraft coverage from your account by speaking to a
       banker
       Important: If you ask us to remove our standard overdraft coverage from your account, the
       following will apply if you do not have enough money in your account or accounts linked for
       Overdraft Protection to cover a transaction:
       • We will return your checks and automatic payments (such as ACH payments) and assess a
           non-sufficient funds (NSF) returned item fee and you could be assessed additional fees by
           merchants
       • We will not authorize transactions such as ATM withdrawals or everyday debit card
           purchases into overdraft



  22 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 28 of 53 Page ID
   Available balance, posting order, and overdrafts
   •   We will not authorize certain transactions (such as cashed checks, recurring debit card
       transactions, or Bill Pay transactions) into overdraft. However, if these transactions are




                                                                                                              Introduction
       authorized when your account has enough money but are later presented for payment
       when your account does not have enough money, we will pay the transaction into
       overdraft and charge an overdraft fee

   What is your responsibility if your account has an overdraft?
   If you have an overdraft on your account (including transactions we have paid on your behalf




                                                                                                         through arbitration
                                                                                                         Resolving disputes
   into overdraft, plus any fees), you must make a deposit or transfer promptly to return your
   account to a positive balance
   If you fail to bring your checking account to a positive balance, we will close your account
   Also we may report you to consumer reporting agencies and initiate collection efforts You
   agree to reimburse us for the costs and expenses (including attorney’s fees and expenses) we
   incur




                                                                                                         Important legal
                                                                                                           information
                                                                                                         error notifications
                                                                                                          Statements and
                                                                                                         responsibilities
                                                                                                           Rights and
                                                                                                         savings accounts banking services
                                                                                                           Checking and      Electronic




                                                                                                    23
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 29 of 53 Page ID
        Setoff and security interest
       Are we allowed to use the funds in your accounts to cover debts you owe us?
       Yes, we have the right to apply funds in your accounts to any debt you owe us This is known
       as “setoff.” When we setoff a debt you owe us, we reduce the funds in your accounts by the
       amount of the debt We are not required to give you any prior notice to exercise our right of
       setoff
       A “debt” includes any amount you owe individually or together with someone else both now
       or in the future It includes any overdrafts and our fees We may setoff for any debt you owe
       us that is due or past due as allowed by the laws governing your account If your account is a
       joint account, we may setoff funds in it to pay the debt of any joint owner
       If your account is an unmatured time account (or CD), then we may deduct any early
       withdrawal fee or penalty This may be due as a result of our having exercised our right of
       setoff

       Do you grant us a security interest in your accounts with us?
       Yes, to ensure you pay us all amounts you owe us under the Agreement (e g , overdrafts and
       fees), you grant us a lien on and security interest in each account you maintain with us By
       opening and maintaining each account with us, you consent to our asserting our security
       interest should the laws governing the Agreement require your consent Our rights under
       this security interest are in addition to and apart from any other rights under any other
       security interest you may have granted to us

       Can you grant anyone else a security interest in your accounts with us?
       No, you may not grant a security interest in, transfer, or assign your accounts to anyone other
       than us without our written agreement




  24 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 30 of 53 Page ID
   Bank fees and expenses; Earnings allowance
   Are you obligated to pay our fees?




                                                                                                                 Introduction
   Yes, you agree to pay us in accordance with our Business Account Fee and Information
   Schedule You also agree to pay an amount equal to any applicable taxes, however
   designated, exclusive of taxes based on our net income

   How do you pay our fees and expenses?
   We are permitted to either directly debit your account or invoice you for our fees and




                                                                                                            through arbitration
                                                                                                            Resolving disputes
   expenses and taxes incurred in connection with your account and any service If there are
   non-sufficient funds in your account to cover the debit, we may create an overdraft on your
   account
   You agree to promptly pay any invoiced amount We may assess finance charges on any
   invoiced amounts that are not paid within 45 days of the date of invoice Finance charges
   are assessed at a rate of 1 5% per month (18% per annum) or the highest amount permitted
   by the laws governing your account, whichever is less Charges for accrued and unpaid
   interest and previously assessed finance charges will not be included when calculating




                                                                                                            Important legal
   finance charges Payments and other reductions of amounts owed will be applied first to




                                                                                                              information
   that portion of outstanding fees attributable to charges for accrued and unpaid interest and
   previously assessed finance charges, then to other fees and charges

   If an earnings allowance accrues on your account, do we apply it to our fees and
   expenses?
   Yes, if an earnings allowance accrues on your account, we will periodically apply your




                                                                                                            error notifications
                                                                                                             Statements and
   accrued earnings allowance to eligible fees and expenses (unless we otherwise indicate in
   writing) If both an earnings allowance and interest accrue on your account, the interest will
   be shown as an offset to the earnings allowance on the client analysis statement for your
   account If your earnings allowance exceeds your total maintenance and activity fees for
   the statement cycle for your account, the excess credit is not paid to you, nor is it carried
   forward to the following statement cycle We may debit your account (or any other account
   you maintain with us) or invoice you for any amount by which the fees and expenses exceed
   the accrued earnings allowance on your account The earnings allowance applied as a
   credit against fees and expenses will be reported as income to the IRS, state, and local tax             responsibilities
                                                                                                              Rights and
   authorities if required by applicable law and you are responsible for any federal, state or local
   taxes due on the credited earnings allowance
                                                                                                            savings accounts banking services
                                                                                                              Checking and      Electronic




                                                                                                       25
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 31 of 53 Page ID
        Additional rules for checks and withdrawals
       What identification do we request to cash checks presented over-the-counter by
       a non-customer?
       For these transactions, we require acceptable identification, which can include a fingerprint
       from the person presenting your check We may not honor the check if the person refuses to
       provide us with requested identification

       Are there special rules if you want to make a large cash withdrawal or deposit?
       We may place reasonable restrictions on a large cash withdrawal These restrictions include
       requiring you to provide reasonable advance notice to ensure we have sufficient cash on
       hand We do not have any obligation to provide security if you make a large cash withdrawal
       If you want to deposit cash for a very large amount, we have the right to require you to
       provide adequate security or exercise other options to mitigate possible risks

       Are we responsible for reviewing checks for multiple signatures?
       No, we are not responsible for reviewing the number of signatures required on your account
       If you have indicated that more than one signature is required, we will not be liable if a check
       does not meet this requirement

       Are we required to honor dates and special instructions written on checks?
       No, we may, without inquiry or liability, pay a check even if it
       • Has special written instructions indicating we should refuse payment (e.g., “Void after 30
          days” or “Void over $100”);
       • Is stale-dated (i.e., the check’s date is more than 6 months in the past), even if we are
          aware of the check’s date;
       • Is post-dated (i.e., the check’s date is in the future); or
       • Is not dated.
       We may also pay the amount encoded on your check in U.S. dollars, even if you wrote the
       check in a foreign currency or made a notation on the check’s face to pay it in a foreign
       currency The encoded amount is in the line along the bottom edge of the front of the check
       where the account number is printed

       Can you use a facsimile or mechanical signature?
       Yes, if you use a facsimile or mechanical signature (including a stamp), any check appearing
       to use your facsimile or mechanical signature will be treated as if you had actually signed it

       Are you liable if you pay a consumer ACH debit entry on my account?
       No, under the ACH operating rules, certain types of ACH debit entries may only be presented
       on a consumer account (each, a “consumer ACH debit entry”). We will have no obligation to
       pay, and no liability for paying, any consumer ACH debit entry on your account.

       What is the acceptable form for your checks?
       Your checks must meet our standards, including paper stock, dimensions, and other industry
       standards Your checks must include our name and address, as provided by us Certain check
       features, such as security features, may impair the quality of a check image that we or a third
       party create
       We reserve the right to refuse checks that do not meet these standards or cannot be
       processed or imaged using our equipment We are not responsible for losses that result from
       your failure to follow our check standards
  26 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 32 of 53 Page ID
   Issuing stop payment orders and post-dated checks
   How do you stop payment on a check?




                                                                                                               Introduction
   You may request a stop payment on your check in a time and manner allowing us a
   reasonable opportunity to act on it before we pay, cash, or otherwise become obligated to
   pay your check
   Each stop payment order is subject to our verification that we have not already paid or
   otherwise become obligated to pay the check from your account This verification may occur
   after we accept your stop payment order




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   In order to issue a stop payment order on a check, we request the following information:
   • Your bank account number,
   • The check number or range of numbers,
   • The check amount or amounts,
   • The payee(s) name(s), and
   • The date on the check.
   We are not responsible for stopping payment on a check if you provide incorrect or




                                                                                                          Important legal
                                                                                                            information
   incomplete information about the check

   What is the effective period for a stop payment order?
   A stop payment order on a check is valid for 6 months We may pay a check once a stop
   payment order expires You must place a new stop payment order if you do not want it to
   expire We treat each renewal as a new stop payment order We will charge you for each stop




                                                                                                          error notifications
   payment order you place (as well as each renewal)




                                                                                                           Statements and
   How do you cancel a stop payment order?
   To cancel a stop payment order, we must receive your request in a time and manner allowing
   us a reasonable opportunity to act on it

   Are you still responsible if we accept a stop payment on a check?
   Yes, even if we return a check unpaid due to a stop payment order, you may still be liable to
   the holder (e g , a check cashing business) of the check                                               responsibilities
                                                                                                            Rights and
   How can you prevent a post-dated check from being paid before its date?
   A “post-dated” check is a check you issue with a date in the future. We are not responsible for
   waiting to honor the check until that date, unless you instruct us to do so through the use of
   a stop payment order for the check You are responsible for notifying us to cancel the stop
                                                                                                          savings accounts banking services




   payment order when you are ready to have that check paid
                                                                                                            Checking and      Electronic




                                                                                                     27
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 33 of 53 Page ID
        Issuing stop payment orders and post-dated checks
       How do you stop payment for preauthorized electronic fund transfers?
       If you have told us in advance to make a regular payment from your account, you can
       stop the payment by:
          Calling Wells Fargo National Business Banking Center at 1-800-CALL-WELLS (1-800-225-5935),
          or writing to us at Wells Fargo, Customer Correspondence, P.O. Box 6995, Portland, OR,
          97228-6995, in time for us to receive your request 3 business days or more before the
          payment is scheduled to be made If you call, we may also require you to put your request in
          writing and get it to us within 14 days after you call We will charge you a fee for every stop
          payment order you request
       Liability for failure to stop payment: If you order us to stop one of these payments 3
       business days or more before your scheduled transfer, and we do not do so, we will be liable
       for your losses or damages
       Purchase transactions: A stop payment may not be requested on a purchase transaction




  28 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 34 of 53 Page ID
   Interest earning accounts
   What interest rate applies to an interest earning account?




                                                                                                              Introduction
   When you open an interest earning account, we will provide a rate sheet listing the current
   interest rate and Annual Percentage Yield (APY) for your account Interest earning accounts
   earn interest at a variable rate, except Time Accounts (CDs) We may change the interest rate
   for variable-rate accounts at any time The interest rate may vary depending on your daily
   balances (tiered-rate account) We may pay the same interest rate on more than one tier The
   tiers and corresponding interest rates are disclosed in the rate sheet




                                                                                                         through arbitration
                                                                                                         Resolving disputes
   How do we calculate earned interest?
   We calculate interest using the daily collected balance method This method applies a daily
   periodic rate to the collected balance in your account each day Interest is calculated using a
   365-day year

   When does a deposit begin accruing interest?
   Cash deposits begin accruing interest the same business day a deposit is credited to your




                                                                                                         Important legal
   account If you deposit an item such as a check, interest begins accruing on the business day




                                                                                                           information
   we receive credit for the item

   Is interest compounded and when is it credited?
   Interest will compound on a daily basis For checking and savings accounts, interest will be
   credited on a monthly basis




                                                                                                         error notifications
   What is the difference between Annual Percentage Yield (APY) and Annual




                                                                                                          Statements and
   Percentage Yield Earned (APYE)?
   The Annual Percentage Yield (APY) is a percentage rate reflecting the total amount of interest
   paid on an account based on the interest rate and the frequency of compounding for a
   365-day period The Annual Percentage Yield Earned (APYE) is an annualized rate that reflects
   the relationship between the amount of interest actually earned on your account during the
   statement period and the average daily balance in the account for the statement period
   We calculate both your APY and APYE according to formulas established by federal                      responsibilities
   regulations The APYE appears on your account statement                                                  Rights and

   Do we have the right to require notice of withdrawal from your savings account?
   Yes, we have the right to require 7 days written notice before you withdraw money from your
   savings account
                                                                                                         savings accounts banking services




   Are you required to obtain a tax identification number certification?
                                                                                                           Checking and




   Yes, in most instances, Treasury regulations require us to obtain a Taxpayer Identification
   Number (“TIN”) for each account. To avoid backup withholding tax on accounts that earn
   interest or dividends, you are required to submit Internal Revenue Service (“IRS”) Form W-9 or
   Form W-8BEN and supporting information and/or documentation to us. U.S. citizens or other
   U.S. persons, including resident alien individuals, must provide a Form W-9. If you are a non-
   resident alien as defined by the IRS, you must provide a Form W-8BEN. Other types of Form
   W-8 plus additional documentation may be required if you are a foreign partnership, foreign
                                                                                                                             Electronic




   government, or are claiming an exemption based on Effectively Connected Income
   Until we have received the Form(s) W-9 or W-8BEN completed and signed per IRS
   Regulations, or any other required forms, we will pay interest and comply with the backup
   withholding requirements of the IRS.


                                                                                                    29
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 35 of 53 Page ID
        Interest earning accounts
       If you own your account as a sole proprietor, upon your death, we must be provided with
       the estate’s or successor’s TIN or we may either refuse to pay interest earned on your account
       since the date of your death or withhold a portion of the interest that has been earned on
       your account since the date of your death

       Regulation D savings account transaction limit and other limited activity
       Regulation D and Wells Fargo limit certain types of withdrawals and transfers from a savings
       account to a combined total of 6 per monthly fee period

       Limited by Regulation D:
       •   Transfers by phone using our automated banking service or speaking with a banker on
           the phone
       •   Transfers or payments through online, mobile, and text banking (including Bill Pay and
           person-to-person payments)
       •   Overdraft Protection transfers to a checking account
       •   Pre-authorized transfers and withdrawals (including recurring and one time)
       •   Payments to third parties such as checks, drafts, or similar transactions (counted when
           they are posted to your account and not when they are written)
       •   Debit or ATM card purchases that post to the savings account

       Limited by Wells Fargo:
       •   Transfers and payments to Wells Fargo credit cards, lines of credit, and loans
       •   Outgoing wires whether made in person, on the telephone, or online

       Not limited:
       Except as limited above, there is no limit on the following in-person transactions at a
       Wells Fargo ATM or banking location
       • Transfers between your Wells Fargo accounts
       • Withdrawals
       • Any types of deposits

       What happens if you exceed the limit?
       If you exceed the limit stated above, you will be charged an excess activity fee (see the
       Business Account Fee and Information Schedule) If the limit is exceeded on more than an
       occasional basis, Wells Fargo may be required to convert the savings account to a checking
       account, which would discontinue any Overdraft Protection it might be providing to another
       account, or close the account
       If the withdrawal and transfer limit is reached, we may decline withdrawals and transfers for the
       remainder of the monthly fee period to help you avoid a fee and account conversion or closure

       What is a fee period? (Only business non-analyzed and savings accounts)
       The fee period is used to count the number of posted transactions before charging fees for
       some transactions (including the excess activity fee) during that period The dates of your fee
       period are located in the section on your statement called “Monthly service fee summary” for
       each account




  30 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 36 of 53 Page ID
   Time Accounts (CDs)
   What are Time Accounts?




                                                                                                               Introduction
   Time Accounts (CDs) are payable at the expiration of a specified term, no less than 7 calendar
   days after the date of deposit. We may also refer to a Time Account as a “CD” or a “Certificate
   of Deposit,” even though a certificate does not represent a Time Account. The CD’s maturity
   date is the last day of the term for the CD The maturity date is printed on your receipt

   When can you withdraw funds from your CD?




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   You may withdraw funds from your CD on the maturity date without a fee or penalty You
   may also generally withdraw funds without a fee or penalty within the 7 calendar days
   after the maturity date (grace period) You may be charged a fee or penalty if you make a
   withdrawal at any other time. See the “Time Accounts (CDs)” section of the Business Account
   Fee and Information Schedule for details

   Can you deposit additional funds into your CD?
   You can only deposit additional funds during the grace period




                                                                                                          Important legal
                                                                                                            information
   Will your Annual Percentage Yield (APY) change if you withdraw interest before
   maturity?
   The APY we disclose to you assumes the interest you earn will remain on deposit until your
   CD matures If you withdraw your earned interest before maturity, your account will earn less
   interest over time and the actual APY will be less than the disclosed APY




                                                                                                          error notifications
                                                                                                           Statements and
   How does your CD renew?
   Your CD will automatically renew at maturity
   • Typically for a like term unless we inform you prior to maturity of a different term; and
   • At our interest rate in effect on the maturity date for a new CD of the same term and
      amount, unless we have notified you otherwise


                                                                                                          responsibilities
                                                                                                            Rights and
                                                                                                          savings accounts banking services
                                                                                                            Checking and      Electronic




                                                                                                     31
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 37 of 53 Page ID
        Debit cards and ATM cards
       This part describes ways to use services linked to an account using a business debit, ATM, or
       deposit card Some services may not be available at all locations We may require you to sign
       additional documentation to obtain a card You will receive terms and conditions applicable
       to your card when you receive the card In the event of a conflict between the terms and
       conditions and the Agreement, the terms and conditions will control Additional disclosures
       applicable to these services are provided in the Business Account Fee and Information
       Schedule

       Issuance of a card and Personal Identification Number (PIN)
       We may issue a card to each account owner to access your accounts If you do not select a
       PIN when you request your card, we will send you a randomly selected PIN

       Protection of card and PIN
       You should securely protect your card and PIN from loss or theft Each cardholder must have
       his or her own unique PIN for the card and is responsible for maintaining confidentiality of
       the PIN Memorize the PIN Never write the PIN on the card or share it with anyone, including
       our employees Never allow anyone else to use the card or PIN If the card or PIN is given
       to another person, the account owner will be responsible for all transactions made by that
       person or anyone else to whom that person gives the card or PIN Notify us immediately if
       the card is lost or stolen, or is no longer secure

       Business instant issue debit card
       The business instant issue debit card is a temporary debit card We will deactivate the
       business instant issue debit card either when you activate your permanent business debit
       card or 30 days after we issue your temporary business debit card

       Linking accounts for card access and designating primary account
       Linking lets you add accounts you own (e.g., checking, savings, credit card) to a business
       debit or business ATM card, giving you access to make transactions on multiple accounts
       with one card at Wells Fargo ATMs At most ATMs, you only have access to accounts linked to
       your card At certain ATMs inside Wells Fargo branches, however, you may be able to access
       and perform transactions on accounts that are not linked to your card
       If you link only one account of a single type (e g , checking or savings accounts) to the card,
       that linked account is automatically designated as the “primary” account for purposes of
       electronic fund transfer services The primary account for a business debit card must be a
       qualified business checking account If the primary business checking account linked to the
       card should be closed or delinked for any reason, we may designate any additional qualified
       business checking account that is linked to the card as the primary account on the card If
       no additional qualified business checking account is linked to the card, the business debit
       card linked to the closed checking account will be cancelled If the card is linked to other
       business checking or savings accounts, the card will be cancelled and a business ATM card
       will be mailed to the cardholder The money for purchases and payments made with your
       card is deducted from the primary checking account Cash withdrawals using a card at a non-
       Wells Fargo ATM are deducted from the primary checking or savings account




  32 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 38 of 53 Page ID
   Debit cards and ATM cards
   If you link more than one account of a single type to the card, you may designate a primary
   account and other accounts If you do not designate one account as the primary account of a




                                                                                                                Introduction
   particular type of account, the first account of that type linked to your card is considered the
   primary account for that type of account If a primary account linked to the card is closed or
   delinked for any reason, we will designate another linked account (if applicable) as the new
   primary account If this linked account is a savings account, your debit card will be closed
   and you can request an ATM card We will determine the number and type of accounts you
   can link to your card




                                                                                                           through arbitration
                                                                                                           Resolving disputes
   Using a card to access linked credit card and line of credit accounts at ATMs
   If you link your Wells Fargo credit card account or eligible line of credit account to the card
   (linked credit account), you may use the card to access the linked credit account at any
   Wells Fargo ATM You can use the card to obtain cash or transfer funds from the linked credit
   account, as long as the linked credit account is in good standing and has available credit
   Cash withdrawals and transfers of funds from your linked credit account are treated as cash
   advances Each of these transactions is subject to the provisions of the applicable credit




                                                                                                           Important legal
   card account agreement or line of credit account agreement, including daily limits and cash




                                                                                                             information
   advance fees
   You must notify us in case of errors or questions about your Wells Fargo credit card bill If
   you think your bill is wrong or if you need more information about a transaction on your
   bill, write to us at: Wells Fargo Card Services, P.O. Box 522, Des Moines, IA, 50302-9907. You
   also may call us at the telephone number listed on your account statement. However, you
   must write to us to preserve your billing rights Please consult your applicable credit account




                                                                                                           error notifications
                                                                                                            Statements and
   agreement for complete information on the terms and conditions applicable to your linked
   credit account, including the rules relating to cash advances from, and payments to, your
   linked credit accounts




                                                                                                           responsibilities
                                                                                                             Rights and
                                                                                                           savings accounts banking services
                                                                                                             Checking and      Electronic




                                                                                                      33
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 39 of 53 Page ID
        Debit cards and ATM cards
       Using your card
       The tables below show how you can use your card to make purchases and payments, make
       transfers, and use ATMs
       Note: some services described below may not be available at all ATMs
                                          How you can purchase or pay
                                                                Business Business          Business
           Actions
                                                               debit card ATM card1       deposit card
           Use your card at merchants accepting payments
           through a network in which we participate (e g          4         4
           Visa® and MasterCard®)
           Pay bills directly to a merchant or other provider
                                                                   4
           using your card
           Request cash back when making a purchase using
                                                                   4         4
           your PIN at merchants who offer this service
           Use your card through a mobile device at merchants
                                                                   4
           who accept mobile payments

                                          Where you can withdraw money
                                                                 Business    Business      Business
           Actions
                                                                debit card   ATM card     deposit card
           Wells Fargo ATMs and Wells Fargo Bank locations          4           4
           Non-Wells Fargo ATMs (fees may apply)                    4           4
           Non-Wells Fargo banks that accept Visa-branded
           cards with a teller assisted transaction (fees may       4
           apply)




       1
             Purchases made using a business ATM card are available at merchants accepting payments
             through networks in which we participate and require a PIN to authorize the purchase


  34 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 40 of 53 Page ID
   Debit cards and ATM cards
                                 What you can do at Wells Fargo ATMs
                                                              Business      Business     Business




                                                                                                                  Introduction
    Actions
                                                             debit card     ATM card    deposit card
    Make deposits to your accounts2                              4             4            4
    View your account balances                                   4             4
    Withdraw cash                                                4             4
    Transfer funds between your accounts                         4             4




                                                                                                             through arbitration
    Make payments to a Wells Fargo credit card




                                                                                                             Resolving disputes
                                                                 4             4
    Get a statement of the last 10 transactions (fees may
                                                                 4             4
    apply)
    Get a statement of the balances of your accounts
                                                                 4             4
    (fees may apply)
    Purchase U.S. postage stamps (fees apply)                    4             4
    Choose how you want to receive your ATM receipt:
    printed, emailed to the address on file or to your Wells




                                                                                                             Important legal
    Fargo Online® secure inbox, or texted to your mobile         4             4             43




                                                                                                               information
    phone number on file (mobile carrier message and data
    rates may apply)

                           What you can do at non-Wells Fargo ATMs4
                                                           Business Business             Business
    Actions
                                                          debit card ATM card           deposit card




                                                                                                             error notifications
    View your account balance (fees may apply)                4         4




                                                                                                              Statements and
    Withdraw cash (fees may apply)                            4         4
    Make deposits at certain non-Wells Fargo ATMs (using
    a card issued by a branch located in Iowa5) (fees may     4         4                    4
    apply)

                          How you can receive electronic credit transfers
                                                            Business   Business    Business
    Actions
                                                           debit card ATM card deposit card                  responsibilities
    Receive transfers, such as those through card                                                              Rights and
                                                               4
    networks or funds transfer systems
   Statements at ATMs should not be used in place of the account statement for balancing or
   verifying the actual account balance
                                                                                                             savings accounts banking services




   2
       The business deposit card and associated PIN can be used only to make ATM deposits The card
                                                                                                               Checking and




       can be issued to an authorized signer on the business accounts It also can be issued to a non-
       authorized signer at the request of an authorized signer When the card is used to make an ATM
       deposit, account balances are neither displayed on the ATM screen nor printed on the ATM
       receipt The card PIN cannot be used for authentication for phone or online access
   3
       Business deposit cards are able to only receive printed receipts
   4
       Non-Wells Fargo ATMs are part of ATM networks owned or operated by other financial
       institutions You can use your Card to withdraw cash and check balances for the accounts
       linked to your Card as primary checking and primary savings. Note: 1) Some non-Wells Fargo
       ATMs may not give you the option of choosing which Account to access or may only let you
                                                                                                                                 Electronic




       access one of these two accounts 2) Market rate or money market savings accounts generally
       cannot be designated as primary savings on your Card 3) Some transactions may not be
       available at all ATMs, may be different from those available at Wells Fargo ATMs, or may be
       limited to any withdrawal limit(s) set by the non-Wells Fargo ATM
   5
       Also applies to a card issued by the National Business Banking Center or Wells Fargo Business
       Online that is linked to a primary account opened in Iowa
                                                                                                        35
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 41 of 53 Page ID
        Debit cards and ATM cards
       ATM and merchant terminal malfunctions
       We are not responsible for damages resulting from an ATM or merchant terminal
       malfunction You will promptly notify us if a Wells Fargo ATM fails to dispense the correct
       amount of cash or provide a receipt by calling or writing us at the telephone number or
       address provided on your account statement

       Fees for use of card
       We will charge a fee for each non-Wells Fargo ATM transaction you perform (except for
       deposits or as waived by the terms of your account) In addition, the non-Wells Fargo ATM
       owner/operator will also charge a fee (unless waived by the terms of your account) This fee is
       included in the total transaction amount that is withdrawn from your account Transactions
       will be limited to any withdrawal limits set by the non-Wells Fargo ATM
       We will charge a fee if you make an over-the-counter (teller assisted) cash disbursement at a
       non-Wells Fargo bank that accepts Visa-branded cards. Some merchants may assess a fee when
       you use your card for a purchase This fee will be included in the total purchase amount
       Additional fees applicable to use of the card are provided in the Business Account Fee and
       Information Schedule

       Daily limits and funds available for use with cards
       You may use your card subject to 1) your daily ATM withdrawal limit and daily purchase limit,
       and 2) your available balance in your account. The following rules apply:
       • Limits on dollar amounts
          • Daily ATM withdrawal limit is the maximum amount of cash you can withdraw from any
             combination of accessible accounts using your card At certain ATMs inside Wells Fargo
             branches, your daily ATM withdrawal limit may not apply during branch hours
          • Daily purchase limit is the maximum U.S. dollar amount of purchases (including cash
             back, if any) that can be debited from your account
             1 In certain circumstances, we may allow debit card transactions that exceed your
               daily purchase limit
             2 If your daily purchase limit is more than $99,999, you may ask that the merchant
               process multiple transactions to complete a purchase above this amount
       • Limits for your card:
          We provide you your daily ATM withdrawal and purchase limits when you receive your
          card You can confirm your card’s daily limits by calling us at the number listed in the “How
          to reach Wells Fargo” section, or by viewing them on the “Profile” page in the “Account
          Activity” tab in online banking.
       • Changes to your card limits:
          We may, without telling you, change your daily purchase or ATM withdrawal limit based on
          account history, activity, and other factors
       • Definition:
          For purposes of the daily limits only, a “day” is defined as the 24-hour period from
          midnight to midnight, Pacific Time If a transaction is made in another time zone, it will be
          processed when we receive it
       • Other limits
          There is generally no limit on the number of times the card may be used each day as long
          as the applicable daily ATM withdrawal limit and daily purchase limit are not exceeded
          and there is a sufficient available balance in any combination of your deposit accounts
          accessed for withdrawal



  36 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 42 of 53 Page ID
   Debit cards and ATM cards
       - If the ATM transaction or purchase would create an overdraft on the account, we may,
         in our sole discretion, take any of the actions described in the section of the Agreement




                                                                                                                 Introduction
         titled “Available balance, posting order, and overdrafts.” The availability of deposits for
         withdrawal is described in the funds availability policy
       - When we approve a transaction or purchase, we call that an “authorization.” We may limit
         the number of authorizations we allow during a period of time (e g , if we notice out-of-
         pattern use of your card, suspected fraudulent or unlawful activity, or internet gambling)
         For security reasons, we cannot explain the details of the authorization system If we do




                                                                                                            through arbitration
                                                                                                            Resolving disputes
         not authorize the payment, we may notify the person who attempted the payment that
         has been refused We will not be responsible for failing to give an authorization

   Illegal transactions
   You must not use your card or account for any illegal purpose or Internet gambling You
   must not use your card or account to fund any account that is set up to facilitate Internet
   gambling We may deny transactions or authorizations from merchants who are apparently
   engaged in or who are identified as engaged in the Internet-gambling business




                                                                                                            Important legal
                                                                                                              information
   Using your card through a mobile device
   A “mobile device” means a smartphone, tablet, or any other hand-held or wearable
   communication device that allows you to electronically store or electronically present your
   card or card number (“digital card number”) and use that digital card number to make card
   transactions




                                                                                                            error notifications
   When you use your card with your mobile device for transactions:




                                                                                                             Statements and
   •   Mobile carriers may charge you message and data rates, or other fees
   •   Your card information is sent across wireless and computer networks
   •   Information about your mobile device may be transmitted to us
   •   You should secure the mobile device the same as you would your cash, checks, credit
       cards, and other valuable information We encourage you to password protect or lock
       your mobile device to help prevent an unauthorized person from using it
   •   Please notify us promptly if your mobile device containing your digital card number is               responsibilities
                                                                                                              Rights and
       lost or stolen
   When you use your card with your mobile device for transactions, third parties, such as
   merchants, card association networks, mobile carriers, mobile wallet operators, mobile
   device manufacturers, and software application providers may 1) use and receive your digital
   card number, and 2) receive information about your mobile device
                                                                                                            savings accounts banking services




   If you have enrolled in Overdraft Protection and/or Debit Card Overdraft Service, those terms
                                                                                                              Checking and




   will apply to card transactions made through a mobile device For additional information,
   please see the section on “Available balance, posting order, and overdrafts”.
   We may, at any time, partially or fully restrict your ability to make card transactions through a
   mobile device If you want to remove your digital card number from your mobile device, please
   contact Wells Fargo National Business Banking Center 1-800-CALL-WELLS (1-800-225-5935).

   One-time access codes
                                                                                                                                Electronic




   Upon your request, we may provide you with a secure, one-time access code. This access
   code (when used together with the PIN associated with your eligible card) allows you to
   access your accounts for certain transactions at certain Wells Fargo ATMs An access code
   is temporary and can be used only once. Use of an access code with the associated PIN is
   equivalent to use of the card at a Wells Fargo ATM

                                                                                                       37
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 43 of 53 Page ID
        Debit cards and ATM cards
       Visa Account Updater service
       If you give your debit card number to a merchant with authorization to bill it for recurring
       payments, or to keep it on file for future purchases or payments, and your debit card number
       or expiration date changes, you should notify the merchant with your new card information
       We subscribe to the Visa Account Updater Service (VAU Service) and provide updated card
       information to the VAU Service. If a merchant participates in the VAU Service, that merchant
       will receive the updated card information Changes to your card number due to reported
       fraud will not be provided to the VAU Service. Because not all merchants subscribe to the
       VAU Service, we recommend you notify each merchant of your new card number and/or
       expiration date to ensure your payments continue uninterrupted

       Authorization holds for card transactions
       For all card purchase transactions, we may place a temporary hold on some or all of the funds
       in the account linked to your card when we obtain an authorization request We refer to this
       temporary hold as an “authorization hold.” The funds subject to the hold will be subtracted
       from your available balance
       We can place an authorization hold on your account for up to 3 business days (or for up to
       30 business days for certain types of debit or ATM card transactions, including car rental, cash,
       and international transactions) from the time of the authorization or until the transaction
       is paid from your account. However, if the merchant does not submit the transaction
       for payment within the time allowed, we will release the authorization hold This means
       your available balance will increase until the transaction is submitted for payment by the
       merchant and posted to your account In some situations, the amount of the hold may differ
       from the actual transaction amount since the merchant may not know the total amount
       you will spend If this happens, we must honor the prior authorization and will pay the
       transaction from your account For example, a restaurant submits the authorization request
       for your meal before you add a tip
       Note: You might end up overdrawing the account even though the available balance
       appears to show there are sufficient funds to cover your transaction For example, if a
       merchant does not submit a one-time debit card transaction for payment within 3 business
       days (or within 30 business days for certain types of debit or ATM card transactions, such
       as car rental, cash, and international transactions) of authorization, we must release the
       authorization hold on the transaction even though we will have to honor the transaction
       The transaction will be paid from the funds in the account when we receive it for payment
       You should record and track all of your transactions closely to confirm your available balance
       accurately reflects your spending of funds from the account linked to your card

       Handling preauthorized payments
       The following explains your rights for payments scheduled through your debit card:
       •   One-time purchases: Stop payments cannot be requested on one- time purchases made
           using a card linked to a business deposit account
       •   Recurring debits: If a cardholder has told a merchant or other billing entity in advance
           to make recurring debits to his or her business debit card, the Cardholder can stop any
           of these debits by contacting the merchant or other billing entity directly to cancel
           or discontinue any scheduled or recurring bill payment Some merchants require an
           advance notice to discontinue scheduled or recurring payments, so we recommend a
           cardholder allow sufficient advance time for any changes to his or her payment service




  38 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 44 of 53 Page ID
   Debit cards and ATM cards
   Transactions outside the United States
   If a card is used to make an ATM withdrawal or a purchase outside the United States, the




                                                                                                               Introduction
   network handling the transaction will convert the local currency amount of the transaction
   to U.S. dollars (or, in the case of a purchase only, the merchant handling the transaction
   may convert the currency) If the network converts the currency, it will use either a rate
   selected by the network from the range of rates available in wholesale currency markets for
   the applicable central processing date, which rate may vary from the rate the network itself
   receives or the government-mandated rate in effect for the applicable central processing




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   date If the merchant handling the purchase converts the currency, the merchant will
   determine the currency conversion rate For each purchase transaction completed outside
   the United States, we may also charge an international purchase transaction fee, which we
   base on the amount provided to us by the network (e.g., Visa, MasterCard) in U.S. dollars.

   Ending your card use
   Your card is our property We may cancel your card at any time without notice to you You
   may cancel your card at any time by writing to us at the address provided in your account




                                                                                                          Important legal
   statement If the account is closed or the card is cancelled, you will immediately destroy the




                                                                                                            information
   card(s) and, upon request, tell us in writing that the card(s) has been destroyed If requested,
   you must immediately return the card(s) to us If the card is cancelled, you must pay for any
   card transactions made before the card is cancelled

   Zero Liability protection (card transactions only)
   Your card comes with Zero Liability protection for unauthorized transactions that you report




                                                                                                          error notifications
                                                                                                           Statements and
   promptly. With Zero Liability protection, if your card or card number is ever lost or stolen
   and used without your permission, you must tell us immediately If you do, you will not be
   responsible for unauthorized transactions made using your card or card number
   If you notify us about the unauthorized transaction within 60 days of when the first account
   statement showing the unauthorized transaction was delivered, you will be protected for
   your losses on the account
   If you notify us about the unauthorized transaction after 60 days, we may not reimburse you
   for unauthorized transactions You may be required to provide documentation to support                  responsibilities
   your claim, including an affidavit of unauthorized use and a police report In addition, we
                                                                                                            Rights and
   will consider whether any negligence on the part of the cardholders has contributed to the
   transaction in question
   The following are not considered to be unauthorized transactions under Zero Liability
   protection, which means you are liable for any transaction:
                                                                                                          savings accounts banking services




   • by a cardholder or person authorized by a cardholder, or other person with an interest in
                                                                                                            Checking and




      or authority to transact business on the account;
   • by a person you have authorized to use your card, even if that person has exceeded the
      authority you gave;
   • a merchant has processed in error, or you are unhappy with goods or services you
      purchased In these cases, first contact the merchant to resolve the situation;
   • that resulted from inadequate internal control in your organization.
                                                                                                                              Electronic




                                                                                                     39
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 45 of 53 Page ID
        Debit cards and ATM cards
       If you suspect that your card has been lost or stolen, or that an unauthorized transaction has
       been made with the card or the card number issued to you, notify us as soon as possible by
       calling Wells Fargo National Business Banking Center at 1-800-CALL-WELLS (1- 800-225-5935)
       or the number listed on your account statement The sooner you notify us, the sooner we can
       protect the linked accounts A delay in reporting the unauthorized transaction may affect
       your Zero Liability protection, as defined above.




  40 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 46 of 53 Page ID
    Phone Bank Services
   How do we verify your identity when you call?




                                                                                                              Introduction
   If you have an assigned PIN (for business ATM card, debit card, or PIN only account use), we
   use your PIN to confirm your identity to allow you to use the automated phone bank system
   If a PIN has not been assigned or if you do not use the automated phone bank system, we
   will ask for and use a variety of information to verify your identity

   Are we allowed to cancel your PIN?




                                                                                                         through arbitration
                                                                                                         Resolving disputes
   Yes, we may cancel your PIN at any time without notice If you use a PIN that is not associated
   with a card, you must use it at least once every 6 months to ensure we do not cancel your PIN
   due to inactivity

   How can I change my PIN?
   If you do not know your PIN, you may change your PIN at a banking location or by calling
   Wells Fargo National Business Banking Center at 1-800-CALL-WELLS (1- 800-225-5935) to
   request the mailing of a new randomly selected PIN




                                                                                                         Important legal
                                                                                                           information
   If you know your PIN, you may use the automated phone system or ATM to change your PIN

   Authorization
   You authorize us to comply with any request of a caller using Wells Fargo’s telephone
   banking services, including without limitation a request to transfer funds between or among
   your accounts, provided we authenticate the caller in compliance with one of the security




                                                                                                         error notifications
   procedures described above




                                                                                                          Statements and
                                                                                                         responsibilities
                                                                                                           Rights and
                                                                                                         savings accounts banking services
                                                                                                           Checking and      Electronic




                                                                                                    41
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 47 of 53 Page ID
        Termination of electronic banking privileges
       All of your electronic banking privileges will be terminated if your account is closed
       Wells Fargo, you, or an authorized signer may terminate specific electronic banking services
       without closing your account A service may be terminated by calling or writing Wells Fargo
       at the number or address provided in the Business Account Fee and Information Schedule or
       on the statement for your account




  42 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 48 of 53 Page ID
   Funds transfer services
   The following terms and conditions are in addition to, and not in place of, any other
   agreements you have with us regarding funds transfers As used in these terms and




                                                                                                               Introduction
   conditions, a funds transfer does not include a transaction made using a Wells Fargo issued
   card. Examples of covered funds transfers are a preauthorized automatic transaction (ACH)
   like your car or mortgage payment, and wire transfers

   Rules of funds transfer systems
   Funds transfers to or from your account will be governed by the rules of any funds transfer




                                                                                                          through arbitration
                                                                                                          Resolving disputes
   system through which the transfers are made, including Fedwire, the National Automated
   Clearing House Association, the Electronic Check Clearing House Organization, any regional
   association (each an “ACH”), and Clearing House Interbank Payments System (CHIPS).

   Notice of receipt of funds
   We will notify you of funds electronically debited or credited to your account through the
   account statement for your account covering the period in which the transaction occurred
   We are under no obligation to provide you with any additional notice or receipt




                                                                                                          Important legal
                                                                                                            information
   Reliance on identification numbers
   If an instruction or order to transfer funds describes the person to receive payment
   inconsistently by name and account number, payment may be made on the basis of the
   account number even if the account number identifies a person different from the named
   person If an instruction or order to transfer funds describes a participating financial




                                                                                                          error notifications
   institution inconsistently by name and identification number, the identification number may




                                                                                                           Statements and
   be relied upon as the proper identification of the financial institution

   Duty to report unauthorized or erroneous funds transfers
   You will exercise ordinary care to determine whether a funds transfer to or from your account
   was either not authorized or erroneous, and you will notify us of the facts within a reasonable
   time not exceeding 14 days after you have received notice from us that the instruction or
   order was accepted or your account was debited or credited for the funds transfer, whichever
   is earlier You must notify us within 14 days to be entitled to a refund from us If you do not          responsibilities
   notify us within 14 days, we will be entitled to retain payment for the funds transfer                   Rights and

   Erroneous payment orders
   We have no obligation to detect errors you make in payment orders (e g , an erroneous
   instruction to pay a beneficiary not intended by you or to pay an amount greater than
   the amount intended by you, or an erroneous transmission of a duplicate payment order
                                                                                                          savings accounts banking services
                                                                                                            Checking and




   previously sent by you) If we detect an error on one or more occasions, we will not be
   obligated to detect errors in any future payment order We will rely on the beneficiary
   account number and beneficiary bank identification number (e.g., IBAN, RTN, or SWIFT BIC)
   you provide with an instruction or order You could lose the funds if you provide incomplete
   or inaccurate information
                                                                                                                              Electronic




                                                                                                     43
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 49 of 53 Page ID
        Funds transfer services
       ACH transactions
       In addition to the other terms in the Agreement, the following terms and conditions apply to
       payments to or from your account that you transmit through an ACH:
       • Your rights as to payments to or from your account will be based on the laws governing
           your account
       • When we credit your account for an ACH payment, the payment is provisional until we
           receive final settlement through a Federal Reserve Bank or otherwise receive payment.
       • If we do not receive final settlement or payment, we are entitled to a refund from you for
           the amount credited to your account
       • You hereby authorize any Originating Depository Financial Institution (ODFI) to initiate,
           pursuant to ACH Operating Rules, ACH debit entries to your account for presentment or
           re-presentment of items written or authorized by you
       Under the ACH Rules, the Bank can return any non-consumer ACH debit entry as
       unauthorized until midnight of the business day following the business day the Bank posts
       the entry to your account In order for the Bank to meet this deadline, you are required to
       notify us to return any non-consumer ACH debit entry as unauthorized by the cutoff time
       we separately disclose. The cutoff time is currently 3:00 PM Central Time. If you do not timely
       notify us of the unauthorized non-consumer ACH debit entry, we will not be able to return
       it without the cooperation and agreement of the originating bank and the originator of the
       debit entry Any other effort to recover the funds must occur solely between you and the
       originator of the entry




  44 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 50 of 53 Page ID
   Notes
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 51 of 53 Page ID
        Notes




  46 Business Account Agreement – Effective April 24, 2017
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 52 of 53 Page ID
   Notes
5:19-cv-01847 Document 1-2 Filed 09/25/19 Page 53 of 53 Page ID
     How to reach Wells Fargo
     Wells Fargo accepts Telecommunications Relay Services calls
     Wells Fargo Business Online®           Visit wellsfargo com/biz
                                            or call 1-800-956-4442
     Account assistance/customer inquiry 1-800-CALL-WELLS (1-800-225-5935)
     (National Business Banking
     Center)
     Spanish-speaking customers             1-877-337-7454
     TTY/TDD for deaf and                   1-800-877-4833
     hard-of-hearing customers
     Wells Fargo Mobile®                    Visit wellsfargo com/biz/mobile/
                                            or call 1-866-863-6762
     Customers outside the U.S.             Visit wellsfargo com/help/international-access-codes
                                            to view a list of our International Access
                                            Codes

     For all other accounts, please refer to your statement for contact information




    This Agreement governs business deposit accounts maintained at Wells Fargo Bank, N A and
    Wells Fargo Bank Northwest, N A


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